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 18                  IN THE UNITED STATES DISTRICT COURT
 19        FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

 20   CARL ZEISS AG and ASML                      Case No. 2:17-cv-07083- RGK (MRWx)
      NETHERLANDS B.V.,
 21                                               PLAINTIFFS’ OBJECTIONS TO
 22
                   Plaintiffs,                    DEFENDANTS’ DEMONSTRATIVES
      v.                                          INTRODUCING NEW EXPERT
 23                                               OPINIONS
    NIKON CORPORATION and
 24
    NIKON INC.,                                   Trial Date: December 4, 2018
 25         Defendants.                           Judge:      Hon. R. Gary Klausner
                                                  Courtroom: 850, 8th Floor
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                  PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ DEMONSTRATIVES
                                       INTRODUCING NEW EXPERT OPINIONS
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  1         Plaintiffs, Carl Zeiss AG and ASML Netherlands B.V. (“Plaintiffs”) hereby offer
  2   written objections to certain demonstratives introducing new expert opinions that
  3   Defendants Nikon Corporation and Nikon Inc. (“Nikon” or “Defendants”) intend to
  4   use with their expert witness Dr. Kleinfelder and any testimony on the subject matter
  5   contained therein.
  6         A.     Dr. Kleinfelder Should Be Precluded from Introducing a New
                   Noninfringement Theory Against the ’574 Patent that Was Never
  7
                   Previously Disclosed and Is Not in His Expert Report
  8
            Nikon is attempting to have Dr. Kleinfelder testify to a brand new
  9
      noninfringement theory for claim 30 of the ’574 patent that has never been disclosed
 10
      before and is not in his expert report. Plaintiffs object to DDX-4.79, 4.103, and 4.105,
 11
      where this new argument appears, and Plaintiffs object to any testimony on this subject
 12
      matter.
 13
            Dr. Kleinfelder offered exactly one noninfringement for claim 30 of the ’574
 14
      patent in his expert report: that the accused devices did not include a “first pixel” or
 15
      “second pixel” because both “pixel” terms require having only a single photodiode. Dr.
 16
      Kleinfelder’s statement of his noninfringement argument is set forth below, and his
 17
      supporting discussion of this argument is set forth in Exhibit A (excerpts of Kleinfelder’s
 18
      Rebuttal Rpt., ¶¶ 191-96).
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                 PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ DEMONSTRATIVES
                                      INTRODUCING NEW EXPERT OPINIONS
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      [Exhibit A, portion of ¶ 191 (highlighting added).]
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            The Court rejected the claim construction underlying Dr. Kleinfelder’s sole
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      noninfringement argument for this claim at summary judgment, holding the terms “first
 16
      pixel” and “second pixel” “in the ’574 patent to include one or more photodiodes per
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      sensing node.” [D.I. 305 at 19-20.] Accordingly, Nikon has now manufactured a brand
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      new noninfringement argument for claim 30 based on different claim language:
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      (1) “generate photocharge at the first pixel” and (2) “generate … an output signal that is
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      indicative of the photocharge generated at the first pixel.” Nikon’s proposed slide DDX-
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      4.105 previews this new argument:
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                PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ DEMONSTRATIVES
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 13          Nikon attempted to introduce this new theory through cross-examination of Dr.
 14   Subramanian. [See, generally, Exhibit B, Trial Tr. 386:10-387:22, 388:14-390:4.] Dr.
 15   Kleinfelder’s slides show that Nikon is now trying to have Dr. Kleinfelder slip this new
 16   theory into his direct testimony as well. This is forbidden by Rules 26 and 32 of the
 17   Federal Rules of Civil Procedure. See also Yeti by Molly, Ltd. v Deckers Outdoor Corp., 259
 18   F.3d 1101, 1106 (9th Cir. 2001) (“Rule 37(c)(1) gives teeth to [the requirements of Fed.
 19   R. Civ. P. 26(a)(2)(C)] by forbidding the use at trial of any information required to be
 20   disclosed by Rule 26(a) that is not properly disclosed.”).
 21          The introduction of this theory is highly prejudicial to Plaintiffs. Plaintiffs cannot
 22   fairly be expected to respond to a brand new non-infringement theory in the heat of trial,
 23   long after the close of expert discovery, and after Plaintiffs’ expert has finished his entire
 24   direct testimony in Plaintiffs’ case-in-chief.
 25          Therefore, Dr. Kleinfelder should be precluded from offering any non-
 26   infringement argument for claim 30 of the ’574 patent based on “generate photocharge
 27   at the first pixel” and “generate … an output signal that is indicative of the photocharge
 28   generated at the first pixel.”
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                 PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ DEMONSTRATIVES
                                      INTRODUCING NEW EXPERT OPINIONS
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  1          B.     Dr. Kleinfelder Should Be Precluded from Introducing New
                    Invalidity Theories Against the ’335 Patent that Were Not Previously
  2
                    Disclosed and Are Not in His Expert Report
  3
             Plaintiffs hereby object to Dr. Kleinfelder’s demonstrative DDX-4.67 and to any
  4
      testimony regarding invalidity related to this demonstrative.
  5
             Nikon is attempting to add new invalidity theories against the ’335 patent in the
  6
      middle of trial. In his expert report, Dr. Kleinfelder argued that “Takahashi discloses
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      step (c) [of claim 1] at time T0 of Fig. 3.” [Exhibit C, Kleinfelder Op. Exp. Rpt., C1 at
  8
      pages 5-6.] Dr. Kleinfelder now abandons this theory and appears to argue that a
  9
      different time period of Takahashi’s Figure 3 discloses step 1(c) of the ’335 patent.
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      Plaintiffs have prepared their case for trial based on Dr. Kleinfelder’s opinions offered in
 11
      his expert report, and it would be unfair and prejudicial for Nikon now to change its
 12
      invalidity theories in the middle of trial.
 13
             In his expert report, Dr. Kleinfelder limited the time period that purportedly
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      discloses step (c) of claim 1—which requires “turning on the reset transistor, turning off
 15
      the first and second transfer transistors . . .”—to time period T0 of Takahashi’s Figure
 16
      3.1 Notably, in his invalidity chart, Dr. Kleinfelder argued that “[d]uring time T0 , the
 17
      reset transistor ɸR and select transistor ɸS are both on, and transfer transistors ɸTXo0
 18
      and ɸTXe0 are off.” [Exhibit C, Kleinfelder Op. Exp. Rpt., C1 at page 6.] Thus, Nikon
 19
      specifically identified Takahashi’s time period T0 for step (c) of claim 1.
 20
              By contrast, Dr. Kleinfelder now excludes most of time period T0 and includes
 21
      a time period prior to T0 in his demonstratives, as the highlighted area of Takahashi’s
 22
      Figure 3 in DDX-4.67 with respect to step (c) of claim 1 shows:
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       Dr. Kleinfelder cited Takahashi at 4:24-31: “At time T0 , a control pulse ɸS0 is set to
      the H level, the selection switch MOS transistor 6 is turned on, and the pixel portions
 26   of the first and second lines are selected. The control pulse ɸR0 is subsequently set to
      the low (L) level, the resetting of the FD portion 21 is stopped, the FD portion 21 is set
 27
      to the floating state, and a circuit between the gate and source of the source-follower
 28   amplifier MOS transistor 5 is set into a through state.”
                                                    4
                  PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ DEMONSTRATIVES
                                                INTRODUCING NEW EXPERT OPINIONS
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      It is entirely unclear how far back Dr. Kleinfelder now contends the time period

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      extends—possibly further than what is shown in Takahashi’s Figure 3, which would

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      overlap with or even encompass step (b) of claim 1.2 This new theory is entirely

 16
      inconsistent with Dr. Kleinfelder’s previous opinions.           Introducing this previously

 17
      undisclosed theory now in the middle of trial is improper and highly prejudicial to

 18
      Plaintiffs. See Fed. R. Civ. P. 26 and 27. See also Yeti by Molly, Ltd. v Deckers Outdoor Corp.,

 19
      259 F.3d 1101, 1106 (9th Cir. 2001) (“Rule 37(c)(1) gives teeth to [the requirements of

 20
      Fed. R. Civ. P. 26(a)(2)(C)] by forbidding the use at trial of any information required to

 21
      be disclosed by Rule 26(a) that is not properly disclosed.”)

 22
             Therefore, Dr. Kleinfelder should be precluded from offering any invalidity

 23
      theories for step (c) of claim 1 that rely on a time period that extends beyond T0 as shown

 24
      in Takahashi’s Figure 3.

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       During step (b) of claim 1, the first and second photodiodes receive light and generate
 28   photoelectric charges (integration phase).
                                                   5
                PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ DEMONSTRATIVES
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  1                              CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above and
  3   foregoing document has been served on December 9, 2018, to all counsel of record who
  4   are deemed to have consented to electronic service via the Court’s CM/ECF system per
  5   Civil Local Rule 5.4. Any other counsel of record will be served by electronic mail,
  6   facsimile and/or overnight delivery.
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                PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ DEMONSTRATIVES
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